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                STATUS CONFERENCE HEARING DATE AND TIME: JULY 2, 2019 AT 11:00 A.M. (EDT)
                                                        HEARING DATE AND TIME: TBD
                                            OBJECTION DEADLINE DATE AND TIME: TBD

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                  )           Chapter 11
                                                         )
 MIAMI METALS I, INC., et al.,1                          )           Case No. 18-13359 (SHL)
                                                         )
                               Debtors.                  )           (Jointly Administered)
                                                         )

           NOTICE OF DEBTORS AND THE SENIOR LENDERS’ JOINT MOTION
          FOR SUMMARY JUDGEMENT AS TO BUCKET 3, 4 AND 5 CUSTOMERS


     THIS MOTION SEEKS TO EXPUNGE CERTAIN CUSTOMER STATEMENTS.
     CUSTOMERS RECEIVING THIS MOTION SHOULD LOCATE THEIR NAMES
              AND CLAIMS ON EXHIBIT A ATTACHED HERETO.

                  IF YOU HAVE QUESTIONS, PLEASE CONTACT THE DEBTORS’
                       COUNSEL, AKERMAN LLP, AT (214) 720-4300.


          PLEASE TAKE NOTICE that upon the accompanying (i) Memorandum of Law in

 Support of Debtors and Senior Lenders’ Joint Motion for Summary Judgment as to Bucket 3, 4

 and 5 Customers; (ii) Declaration of Scott Avila; and (iii) Debtors and Senior Lenders’ Joint

 Statement of Mutual Undisputed Facts pursuant to Local Bankruptcy Rule 7056-1, the Debtors

 and the Senior Lenders (the “Movants”), by and through their undersigned counsel, will move this

 Court before the Honorable Sean H. Lane, United States Bankruptcy Judge, in the United States


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
 and 209, New York, NY 10036 (3194); Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
 Avenue, Miami, FL 33054 (4378); Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295 Northwest
 163rd Street, Miami Gardens, FL 33014 (5833); Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th
 Avenue, Miami, FL 33054 (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami,
 FL 33054 (7848); Miami Metals VI (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (1507);
 Miami Metals VII (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (4696); Miami Metals VIII (f/k/a
 Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami, FL 33054 (6102); Republic Metals Trading
 (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639); and Republic Trans
 Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación
 Cuauhtémoc, Mexico DF 6000 (2942).



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 Bankruptcy Court for the Southern District of New York, One Bowling Green, New York, New

 York 10004, on a date to be determined, for entry of an order, pursuant to Rule 56 of the Federal

 Rules of Civil Procedure, made applicable to this contested matter pursuant to 7056 of the Federal

 Rules of Bankruptcy Procedure: (i) finding that: (a) the Disputed Assets constitute property of

 the Debtors’ bankruptcy estates; and (b) the Bucket 3, 4 and 5 Customers2 lack any ownership

 interests in the Disputed Assets; (ii) dismissing all Bucket 3, 4 and 5 Claims with prejudice; and

 (iii) granting such other and further relief as the Court deems just and proper.

            PLEASE TAKE FURTHER NOTICE that the Court will hold a status conference on

 July 2, 2019, at 11:00 a.m. (ET) to set a hearing date and time and an objection deadline, and

 consider additional briefing and hearing schedules. The Movants will notify all parties entitled to

 receive notice of the hearing objection deadlines and, if considered, additional briefing and hearing

 schedules established by the Court.



                                     [SIGNATURE PAGE TO FOLLOW]




 2
     A list of the Bucket 3, 4 and 5 Customers is attached hereto as Exhibit A.

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  Dated: New York, New York                         Respectfully submitted,
         June 21, 2019

  LUSKIN, STERN & EISLER LLP                        AKERMAN LLP

  /s/ Michael Luskin                                /s/ Joanne Gelfand
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                                                    Counsel for Debtors and Debtors-in-Possession




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                                    EXHIBIT A
                            Bucket 3, 4 and 5 Customers

  Dkt                                        Bucket 3
  No.
  471   Argonaut Gold Inc.
        Compania Minera Pitalla, S.A. de C.V.
        Minera Real de Oro S.A. de C.V.
  460   First Majestic Silver Corp.
        Nusantara de Mexico S.A. de C.V.
        Primero Empresa Minera, S.A. de C.V.
  464   Pretium Exploration Inc.

  Dkt                                        Bucket 4
  No.
  470 Coeur Mining, Inc.
      Coeur Mexicana S.A. de C.V.
      Coeur Rochester, Inc.

  Dkt                                     Bucket 5
  No.
  451 Premier Gold Mines Limited
  485 Yamana Gold Inc.
      (Jacobina Mine)
      (Cerro Moro Mine)
  447 Minas de Oroco Resources, S.A. de C.V.
